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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA

Co., inc., Docket Number; 2:06-cv-1426;
and only regarding Gerald Quebedeaux.

In re: Vioxx® * MDL Docket No. 1657

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PRODUCTS LIABILITY * SECTION L
LITIGATION *

* JUDGE FALLON
This document relates to: *

* MAGISTRATE JUDGE
Gerald Quebedeaux, et al. v. Merck & * KNOWLES

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ORDER OF DISMISSAL WITHOUT PREJUDICE

Considering the foregoing Stipulation of Dismissal Without Prejudice,

IT IS ORDERED, that all of claims of the plaintiff Gerald Quebedeaux against defendant
Merck & Co., Inc. in the above-styled lawsuit are hereby dismissed. without prejudice, each party
to bear its own costs, and subject the terms and conditions of the Stipulation.

New Orleans, Louisiana, this day of , 2008.

DISTRICT JUDGE

